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FILED

UNITED STATES DISTRICT COURT

 

FOR THE DISTRICT OF COLUMBIA Clerk, U.S. District & Bankruptcy
Court for the District of Columbia
UNITED STATES OF AMERICA
V. Criminal Action No. 22-64 (RBW)
LLOYD CASIMIRO CRUZ, JR.,
Defendant. 3

 

ORDER

In accordance with the oral rulings issued by the Court at the motion hearing held on
January 13, 2023, it is hereby

ORDERED that the Defendant’s Motion to Suppress Evidence and to Dismiss Due to
Fourth Amendment Violation, ECF No. 34, is DENIED.

SO ORDERED this 13th day of January, 2023.

REGGIE B. WALTON
United States District Judge
